Case 1:16-cv-00555-LEK-KJM Document 189 Filed 10/18/19 Page 1 of 2                                PageID #:
                                  9381
AO 450 (Rev. 5/85) Judgment in a Civil Case




                                 UNITED STATES DISTRICT COURT
                                              DISTRICT OF HAWAII

 KENNETH LAKE; CRYSTAL                                    JUDGMENT IN A CIVIL CASE
 LAKE; HAROLD BEAN; MELINDA
 BEAN; KYLE PAHONA; ESTEL                                 Case: CV 16-00555 LEK-KJM
 PAHONA; TIMOTHY MOSELEY;
 RYAN WILSON; HEATHER
 WILSON

                 Plaintiffs,
                                                                      FILED IN THE
                   V.                                        UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF HAWAII

                                                                        October 18, 2019
 OHANA MILITARY
                                                                   At 1 o’clock and 50 min p.m.
 COMMUNITIES, LLC; FOREST                                             SUE BEITIA, CLERK
 CITY RESIDENTIAL
 MANAGEMENT, INC.; DOE
 DEFENDANTS 1-10

                Defendants.


[ ]       Jury Verdict. This action came before the Court for a trial by jury. The issues
          have been tried and the jury has rendered its verdict.

[T] Decision by Court. This action came for hearing before the Court. The issues
          have been heard and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED that judgment is entered pursuant to, and in
          accordance with, the following orders:

          “Order Granting in Part an Denying in Part Defendants’ Motion to Dismiss”, ECF
          No. 63, filed on August 1, 2017;

          “Order Granting in Part and Denying in Part Plaintiffs’ Motion for
          Reconsideration of Order Granting in Part and Denying in Part Defendants’
          Motion to Dismiss”, ECF No. 78, filed October 12, 2017;

          “Order Striking Plaintiffs’ Trespass Claim”, ECF No. 81, filed December 20,
          2017;
Case 1:16-cv-00555-LEK-KJM Document 189 Filed 10/18/19 Page 2 of 2                   PageID #:
                                  9382
AO 450 (Rev. 5/85) Judgment in a Civil Case                                           Page 2 of 2




          “Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss
          and/or Strike Plaintiffs’ First Amended Complaint (Dkt 75)”, ECF No. 98, filed
          May 31, 2018;

          “Stipulation for Partial Dismissal: Dismissal With Prejudice of All of Plaintiff
          Estel Pahona’s Claims in the First Amended Complaint [75] and Order”, ECF No.
          139, filed April 24, 2019;

          “Order Denying Plaintiffs’ Motion for Reconsideration of Order Dismissing
          Plaintiffs’ Unfair Competition Claim”, ECF No. 159, filed June 13, 2019;

          “Order Granting in Part and Denying in Part Defendants’ Motions for Summary
          Judgment No. 1 and No. 2", ECF No. 187, filed September 30, 2019;

           “Stipulation for (1) Dismissal With Prejudice of All of Plaintiffs Harold Bean and
          Melinda Bean’s Claims in the First Amended Complaint; and (2) Dismissal With
          Prejudice of Plaintiffs Kenneth Lake, Crystal Lake, Kyle Pahona, Ryan Wilson,
          and Heather Wilson’s Eleventh Claim for Relief (Nuisance), to the Extent the
          Claim is Based Upon Construction Dust Generally”, ECF No. 188, filed October
          18, 2019.




                 October 18, 2019                                 SUE BEITIA
 Date                                                Clerk

                                                              /s/ Sue Beitia by ET
                                                     (By) Deputy Clerk
